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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                             )
 J.G.G., et al.,                             )       Civil Action No. 1:25-cv-00766
                                             )
               Plaintiffs-Petitioners,       )
                                             )
 v.                                          )
                                             )
 DONALD J. TRUMP, in his official            )
 capacity as President of the United States, )
 et al.,                                     )
                                             )
               Defendants-Respondents.       )
                                             )

                                   NOTICE TO THE COURT

        For the reasons explained on the record, Federal Defendants object to this Court’s assertion

of jurisdiction, including over the President’s exercise of powers vested in him by Article

II. Subject to that objection, Federal Defendants were promptly notified of the Court’s temporary

restraining order issued in the morning and the 7:26 PM EDT minute order that temporarily

enjoined any removals pursuant to the Presidential Proclamation. Federal Defendants have sought

emergency appellate relief from the D.C. Circuit as to both orders; the Court of Appeals has now

ordered expedited briefing on both motions. The five individual Plaintiffs that were the subject of

the first TRO have not been removed.

        Going forward, and in the absence of appellate relief, Federal Defendants will continue to

protect the United States using authorities other than the Proclamation. Federal Defendants further

report, based on information from the Department of Homeland Security, that some gang members

subject to removal under the Proclamation had already been removed from United States territory

under the Proclamation before the issuance of this Court’s second order.
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                                     Respectfully Submitted,

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